18 U.S.C. 13956(a) (1) (B) (1) MAGISTRATE JUDG
18 S.C. 1956 4a) (3) (B) SIMONTOON
18 U.S.C. 1956(h)
26 U,.3.0, 3Ge
128 ULS.c. 2
UNITED STATES OF AMERICA,
Plaintiff,
Vv.
RICHARD H. OLSON,
Defendant.
_ /
The Grand Jury charges: « :
COUNT I = °
1. From in or about August, 1996, through in or about Aprile.
1997, in Miami, Dade County, in the Southern District si ploviaa
and elsewhere, the defendant, ro. -
RICHARD H. OLSON,
knowinaly and intentionally combined, conspired, confederated and
agreed with persons known and unknown to the grand jury to commit
an offense against the United States, that is, to violate Title 18,
United States Code, Section 1956 {a} (1) (B) (2)
THE PURPOSE AND OBJECT OF THE CONSPIRACY
2. Tt was the purpose and object of the conspiracy to
Knowingly conduct and attempt to conduct a financial transaction
affecting interstate and foreign commerce involving property
represented by a person at the direction of and with the approval -
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Case 1:99-cr-00792-NCR Document 1 Entered on FLSD Docket 11/02/1999 Page 1of 8

UNITED STATES DISTRICT COURT
SUUTEERN DISTRICT OF FLORIDA

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by
Case 1:99-cr-00792-NCR Document 1 Entered on FLSD Docket 11/02/1999 Page 2 of 8

1S, lilegai narcotics trafficking, in violation of Titie 21, Unitec
States Code, Secticnes 841 and 84¢€, and to promote the carrying on
of illegal narcotics trafficking, in violation of Title 18, United
States Code, Section 1956(a) (1) (B) (i).

All in vicsation of Titie 16, United States Code, Secticn
1956 (h)

COUNT II
On or about dune 13, 1996, in Miami, Dade County, in the

Southern District of Florida, and elsewhere. the defendant,
RICHARD H. OLSON,

with the intent to conceal and disguise the nature, location,
source, ownership, and control, of property believed to be the
proceeds of illegal narcotics trafficking, knowingly conducted and
attempted to conduct a financial transaction affecting interstate
and foreign commerce involving property, that is the transfer of
approximately $5,UUU in cash to tne defendant and nis associate,
represented by a person at the direction of and with the approval
of a federal law enforcement official to be the proceeds of illegal
narcotics trafficking.

In violation of Title 18, United States Code, Section

ota

1956(a) (3) (B) and 2.
Case 1:99-cr-00792-NCR Document 1 Entered on FLSD Docket 11/02/1999 Page 3 of 8

TN

On or about August 14, 1996, in Miami, Dade County, in tne

Southern Tietrich of Plorid anc

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ealsewhere, the defendant,

RICHARD H. OLSON,

Wictii Lie LOLEene Lo COrCeaa ana M.S Guise Liat Malure, -OCatlLeri,
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source, ownership, and centrol, of property believed toa be the

mroaceedsa of illegal narcotics trafficking knowinaly conducted and

proceeds OF ilsega: marcotics trarricxel ng, Knowingly conducted ana

attempted to conduct a financial transaction affecting interstate
reign commerce involving property, that is the transfer of
approximately $3,900 in cash tc the defendant and his associate,
represented by a person at the direction of and with the approval
of a federal law en fficial to be the proceeds of illegal
narcetics trafficking.
Tn violation of Title 18, United States Code, Section
1956 (a) (3) (B) and 2.
COUNT IV

On or about January 9, 1997, in Miami, Dade County, in the

Southern District otf Florida, and elsewnere, the detendant,
RICHARD H. OLSON,

With tne intent to conceal anda disguise tne nature, Location,
source, ownership, and control, of property believed to be the
proceeds of illegal narcotics trafficking, knowingly conducted and
attempted to conduct a financial transaction affecting interstate
and foreign commerce involving property, that is the transfer of
approximately $15,000 in cash to the defendant and his associate,

represented by a person at the direction of and with the approval
Case 1:99-cr-00792-NCR Document 1 Entered on FLSD Docket 11/02/1999 Page 4 of 8

of a federal law enforcement official to be tne proceeds of iiliegal
narcotics tratticking
Tn wiolation of Title 18 iInited Stares Code Section

i The allegations of Counts One through Four cf this
Indictment are realtieqed ans: expressly incorp: rated herein as if
Indictmen reatieged and expressly incor porated herein as if
set out in full for the purpose of alleging forfeitures pursuant to

Lhe provisions of Titie 18, United States Code, Section 982.

2. The defendant,
RICHARD H. OLSON,
shall forfeit to the United States pursuant to 18 U.S.C. §982, all
property, real and personal, involved in the money laundering
offense(s) and all property traceable to such property, including
but not limited to the following:

Approximately $23,000 in United States currency.

3. If any of the above-described forfeitable property, asa
result of any act or omission of the defendant:
(a) cannot be located upon the exercise of due diligence;
(bob) has been transferred or seld to, or deposited with, a
third person;
{c) has been placed beyond the jurisdiction of the Court;
(d) has been substantially diminished in value; or

(e) has been commingled with other property which cannot be
Case 1:99-cr-00792-NCR Document 1 Entered on FLSD Docket 11/02/1999 Page 5of 8

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supdivided witnout difficuity; ib is the intent of t
United States, pursuant to 18 U.S.C. §9382 (bj (1) (A) and Zi

W,E.C, §8532(p), to seek forfeiture of any other property

tf saiaq defendant up cto the value of tne above

forteltabie property.
All ain violation of Title 16, Section 982

 

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THOMAS E. SCOTT y
UNITED STATES ATTORNEY

 

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TANA TL. W. FRRNANDEZ

ASSISTANT UNITED STATES ATTORNEY

re)
UNITED STATES OF AMERICA CASE NO.

Vv.

Case 1:99-cr-00792-NCR Document 1_ Entered on FLSD Docket 11/02/1999 Page 6 of 8

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

 

CERTIFICATE OF TRIAL ATTORNEY*

RICHARD H_ OLSON Superseding Case Information:

Court Division: (Setect one) New Defendant(s) Yes No _
Number of New Defendants —_——

x Miami ___ Key West Total number of counts ———

— FTL HH WPB___ FTP

| do hereby certify that:

1. | nave carefully considered the allegations of the indictmeni, the number of defendanis,
the number of probable witnesses and the legal complexities of the Indictment/Information
attached hereto.

2. | am aware that the information supplied on this statement will be relied upon by the
Judges of this Court in setting their calendars and scheduling criminal trials under the
mandate of the Speedy Trial Act, Title 28 U.S.C. Section 3161.

 

 

 

 

3. Interpreter: (Yes or No) No
List language and/or dialect
4. This case willtake 45 days for the parties to try.
5. Please check appropriate category and type of offense listed below:
(Check only one) (Check only one)
| O to 5 days —_X Petty —_—__
lI 6 to 10 days — Minor —_
II 11 to 20 days —_— Misdem. _—____
IV 21 to 60 days _—__ Felony —_X _
V 61 days and over
6. Has this case been previously filed in this District Court? (Yes or No) Nao
lf yes:
Judge: Case No.

(Attach copy of dispositive order)

so a
NW) Nad

Mas a Cunipidii been hed 11 his matter? (Yes art
lf yes:

Magistrate Case No.
Related Miscellaneous numbers: _98-6208-Cr-Dimitrouleas
Defendant(s) in federal custody as of

Defendant(s) in state custody as of

 

 

 

 

 

Rule 20 fromthe _____ EE ——C—~—=é*O?;S trict OF
Is this a potential death penalty case? (Yes or No) No
7 Does this case originate from a matter pending in the U. S. Attorney’s Office prior to

April1.1999? x Yes No _ if yes, was it pending in the Central Region? x Yes_ No

+

fNoine fit. fi Hin he
DIANA L.W. FERNANDEZ

ASSISTANT UNITED STATES ATTORNEY
|.D. # A5500017

*Penalty Sheet(s) attached REV 4/7/99
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BOND RECOMMENDATION SHEET

RICHARD H. OLSON
Defendant

$100,000 Personal Surety Bond 1s recommended.

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DIANA L.W. FERNANDEZ
ASSISTANT UNITED STATES ATTORNEY
500 EAST BROWARD BOULEVARD, 7TH FL
FORT LAUDERDALE, FLORIDA 33394
COURT BAR NO. A5500017

TELEPHONE. (954) 356-7392x3589
FACSIMILE: (954) 356-7230

E-MAIL: Diana. Fernandez@justice.usdoj.gov

Address of Defendant:

Agent:
FBI, S/A Sciolino
(305) 944-9101
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
PENALTY SHEET

Defendant's Name: _Bichard H Olson No:

Count #: 14
18 U.S.C. 1956(h) - Conspiracy to Launder Drug Proceeds

 

*Max. Penalty: 20 years’ imprisonment and/or a fine not more than $500,000
Counts #: 2 - 4
18 U.S.C. 1956(a)(3)(B) - Drug Money Laundering (sting)

 

*Max. Penalty: 20 years’ imprisonment and/or a fine not more than $500,000
Count #:

 

 

“Max. Penalty:
Count #:

 

 

*Max. Penalty:
Count #:

 

 

*Max. Penalty:

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Serko.

 

 

*Max. Penalty:
Count #:

 

 

*Max. Penalty:

*Refers only to possible term of incarceration, does not include possible fines, restitution,

special assessments, parole terms, or forfeitures that may be applicable.
REV. 12/12/96
